 

neon | Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 1 of 51

 

UNITED STATES DISTRICT COURT

 

 

 

 

SOUTHERN DISTRICT OF NEW YORK ees : :
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Reober+ Dera torch se;
{In the space above enter the full name(s) of the pleintiff(s).)
COMPLAINT
|

-against- under the
Civil Rights Act, 42 U.S.C. § 1983

Bette voc FYaSe.be) center (Prisoner Complaint)

Jury Trial: oes 0 No

(check one)

= 16CV 29517

 

 

 

 

 

 

 

 

 

(in the space above enter the fuil name(s) of the defendant(s). Ifyou
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part i. Addresses should not be included here.)

lL Parties‘in this complaint:

A. List your name, identification number, and the name and address of your current place of
confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
as necessary,

Plaintiff - Name Robert Vere Luoccn se:
ID# 3'9|5034637
Current Institution G&vC
Address OY-cFf tHaten 5+ East Elarursgr in y i370

 

 

B. -List ali defendants’ names, positions, places of employment, and the address where each defendant
may be served. Make sure that the defendant(s) listed below are identical to those contained in the
above caption. Attach additional sheets of paper as necessary.

Defendant No. | Name _ MO France caf} Shield #

Where Currently Employed Gevvevve HeSpital Cen*ee

Address S62 F:¢5+ awenue
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‘Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 2 of 51 .

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Defendant No. 2 Name RN macca O marquez Shield #

Where Currently Employed Beticvuee Hepercl cenacl
Address “USS Eigse ovens :
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Defendant No. 3 | Name Shield #
Where Currently Employed
Address -

Defendant No. 4 Name Shield #
Where Currently Employed
Address

Defendant No. 5 Name Shield #_
Where Currently Employed
Address

iI, Statement of Claim:

State as. briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additionat sheets of paper as necessary,

A. In what institution did the events giving rise to your claim(s) occur?

BeWevoc HeSeal cenjer

 

B, Where in the institution did the events giving rise to your claim(s) occur?

locetsen « CHer gency

 

 

C, What date and approximate time did the events giving rise to your claim(s) occur?
2 Dec ag vatgZ at ana PM

 

 

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D. Facts:

 

 

 

Wha
happened
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Who did
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---5CE Ryecned ---

 

 

 

Was
anyone
else
involved?

 

 

 

 

 

 

 

 

 

 

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Wi. Injuries:

If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if
any, you required and received.

 

 

 

 

 

 

 

IV. Exhaustion of Administrative Remedies:
The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal Jaw, by a prisoner

confined in any jail, prison, or other correctional facility unti] such administrative remedies as are available are
exhausted.” Administrative remedies are also known as grievance procedures.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

Yes _ No

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If YES, name the jail, prison, or other correctional facility where you were confined at the time of the events
giving rise to your claim(s).

 

 

B. Does the jail, prison or other correctional facility where your claim(s) arose have a grievance procedure?
“Yes No Do Not Know
Cc. Does the grievance procedure at the jail, prison or other correctional facility where your claim(s) arose

cover some or all of your claim(s}?

“Yes No Do Not Know '

If YES, which claim(s)?

 

D. _—s— Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

Yes No

Tf NO, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctionai facility?

 

 

 

 

 

 

Yes No
E. If you did file a grievance, about the events described in this complaint, where did you file the
gtievance?
1. Which claim(s) in this complaint did you grieve?
2. What was the result, if any?
3. What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to

the highest level of the grievance process.

 

 

 

 

 

 

 

 

 

F, If you did not file a grievance:
i. If there are any reasons why you did not file a grievance, state them here:
2, If you did not file a grievance but informed any officials of your claim, state who you informed,

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On
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when and how, and their response, if any:

 

 

 

 

 

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies,

 

 

 

 

 

 

 

Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.

 

Vv. Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that you

are seeking and the basis for such amount), Singe she om tdical P fofeSSion als ak Delevoc

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Vi. Previous lawsuits:

A. — Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

Yes No /

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B. If your answer to A is YES, describe each lawsuit by answering questions 1 through 7 below. (If there
is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using the same

format. }
I. Parties to the previous lawsuit:

Plaintiff

 

Defendants

 

2. _ Court (if federal court; name the district; if state court, name the county)

 

Docket or Index number

 

Name of Judge assigned to your case

 

 

Approximate date of filing lawsuit
Is the case still pending? Yes _ No
If NO, give the approximate date of disposition

7. What was the result of the case? (For example: Was the case dismissed? Was there judgment
in your favor? Was the case. appealed?)

Ara pw

 

 

 

 

 

 

 

 

On Cc. Have you filed other lawsuits in state or federal court otherwise relating to your imprisonment?
other Yes No vw”
clalms — _

D. If your answer to C is YES, describe each lawsuit by answering questions | through 7 below, (If

there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using the
same format.)

1. Parties to the previous lawsuit:

Plaintiff

 

Defendants

 

 

2. Court (if federal court, name the district; if state court, name the county)

 

3 Docket or Index number

4, Name of Judge assigned to your case
5

6

 

 

Approximate date of filing lawsuit

 

Is the case still pending? Yes No
If NO, give the approximate date of disposition

7. What was the resuit of the case?.(For example: Was the case dismissed? Was there judgment
in your favor? Was.the case appealed?)

 

 

 

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I declare under penalty of perjury that the foregoing is true and correct,

Signed this 20 day of _naccy : 201k.

Signature of Plaintiff ppepod- tumecyr
Inmate Number 34 1505637
Institution Address _@9-G% Hozen me -
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Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and provide their
inmate numbers and addresses. oe

 

I declare under penalty of perjury that on this OC’ day of — ma cch : 2016, T am delivering this

complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for the
Southern District of New York,

Signature of Plaintiff, Bt.o% Jetecj,

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aa

Printed:14 Aug 15 1044:59° | ----- eee eee eee
| MRN: 3598032
Bellevue Hospital Center | Patient: Lurch, Robert

New York, NY 10016 |

|
|
462 First Avenue |DOB:11/28/1990 Sex:M Type:LV |
. |
[Visit Date:12/26/13 Visit# |
| Location: 1lifecare |

 

PRESCRIPTION

Date and Time Prescription} Prescription

 

 

06/20/14 07:48 RX0878017 Bactrim DS 160-800 mg Tablet 1 tab po bid xSday
Oty]: 10

02/24/15 07:54 RX0920636 | Ibuprofen 600 mg Tablet 1 tab by mouth prn
process if pain score 4 to 6 (moderate Pain) Qty:
30

03/19/15 08:25 RXOS46701 Bactrim DS 160-800 mg Tablet 1 tab by mouth qli2h

x7day Oty: 14

 

 
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Printed:14 Aug 15 1044:59
Bellevue Hospital Center
462 First Avenue

New York, NY 10016

|MRN; 3598032
| Patient : Lurch, Robert
| DOB: 11/28/1990 ,

| .

| Location: emergency

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Sex:M Type:EP
|visit Date:12/26/13 Visit# 3598032-1

 

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outpatient Chart Print
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All Events
Thu, 26Dec 0200 Basic Metabolic Panel Ca Total Serum: Status: complete
Collection Time : 26 Dec 13) 0200
Collected by Unknown
Specimen SST (30026002)
Remark Spec #30026002: 26 Dec 13 0200
Diagnosis Unspecified psychosis
Na (mmol/L) 144 (137 - 147)
K (mmol/L) 3.7 (3.6 - 5.2)
cl {mmol /L) 102 (99 - 112)
co2 (mmol/L) : 27 (23 - 32)
BUN (mg/dL) : 9 (6 - 22)
Creat (mg/dL) : 2,0 (o.1 - 1.4)
Glu img/dL) 80 (Jo - 99
70-99 Defined by ADA to be normal
for fasting glucose
100-125 Defined by ADA to be
pre-diabetic for fasting \
glucose
dorz126 on 2 occasions defined by
ADA as diabetic for
fasting glucose)
Ca (mg/aL) 9.0 (8.0 - 10.4)
Calcdsmo (moOsm/L) : 285 (277 - 302}
Anion Gap : 8.3 (q@ - 18)
eGFR AfAmer mL/min — >60 (3=60)
eGFR Other mL/min >60 (7=60}
Hemolysis : 0 .
Rajanikant Kabaria (26 Dec 13 2220}
Documentation History Enployee Date/Time
new direct entry ordered by- Sig:Chaput, France, MD, 12/26/13 21:11

Pg
At
specimen collection

ychiatry/Mental Health,
tending Physician (ESOF)

ig: Sealey, Keron Laboratory,

 

42/26/13 21:49
Case 1:16-cv-02517-AT-RWL Pocument 2 Filed 04/05/16 Page 15 of 51

Printed:14 Aug 15 1044:59

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

All

[MRN: 3598032 |
| Patient: Lurch, Robert

| DOB: 11/28/1990 Sex:M Type:EP |
| |
|Visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency [

Page 2 of 37

 

vente - continued

Lab Assistant {ESOF)

accessioned Sig: Sealey, Keron Laboratory,

12/26/13 21:49

Lab Assistant (ESOF)

documented by Sig: Kabaria, Rajanikant

12/26/13 22:20

oa (EISOF)
Thu, 26Dec 0200 Calcium Level Total Serum Status: complete
Collection Time 2€ Dec 13} 0200
Collected by Unknown

Specimen EST (30026002)
Ca (mg/dL) 7 9.0 (8.0 - 10.4)
Rajanikant Kabaria (26 Dec 13 2220)
Documentation History, Employee Date/Time

 

new direct entry ordered by Sig:Chaput,France, MD,

12/26/13 21:11

Psychiatry/Mental Health,

Atittending Physician (ESOF)
Specimen colleetion- Sil

L.

accessioned Si
. La
documented by Si

Thu, 26Dec 0200 Gamma Glutamyl Tx

g:Sealey,Keron Laboratory, 12/26/13 21:49
Ib Assistant {ESOF}
g:Sealey,Keron Laboratory,
iD Assistant (ESOF)
g:Kabaria, Rajanikant
boratory, Lab Technologist
SOF)

12/26/13 21:49

12/26/13 22:20 °

ansferase Level Serum Status: complete

Collection Time 26 Pec 13) 020060
Collected by Unknown
Specimen SET{30026002)
GGT (IU/L) : 40.,. (U5 - 8s)
Rajanikant Kabaria (26 Dec 13 2220)
Documentation History Enjployee Date/Time

 

 

 
Case 1:16-cv-02517-AT-RWL (Document 2 Filed 04/05/16 Page 16 of 51

Printed:14 Aug 15 1044:55 mi
|MRN: 3598032 |
Bellevue Hospital Center | Patient : Lurch, Robert |
462 First Avenue | DOB: 11/28/1990 Sex:M Type:EP |
New York, NY 10016 | |

|visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |

so Page 3 of 37

 

new direct entry ordered by Siig:Chaput, France, MD, 12/26/13 21:11

  
 

Attending Physician (ESOF)

specimen collection Sig:Sealey,Keron Laboratory, 12/26/13 21:49
L Assistant (ESOF)
accessioned ' gig:Sealey,Keron Laboratory, 12/26/13 21:49
L Assistant (ESOF)
documented by Sila: Kabaria, Rajanikant 12/26/13 22:20
Laboratory, Lab Technologist
(ESOF)
Thu, 26Dec 0200 Hepatic Function |Panel Serum Status: complete
Collection Time : 26 Dec 13) 0200
Collected by : Unknown
Specimen 2 SST (30026002)
AST (U/L) 1 37°. (11 - 39)
ALT (U/L) : 21. {112 - 35)
Alk P (U/L) +, 203... (25 - 100)
T Bil (mg/dL) : 0.3 (o.2 - 1.3)
D Bil (mg/dL) : 0.1 (Jo.0 - 0.2)
T.Prot (g/dL) 2 7.7 (6.3 - 8.2)
Alb {g/dL) : 4.5 (3.7-- 9.1)
, Rajanikant Kabaria (26 Dec 13. 2220}

 

=

 

Documentation History Employee Date/Time

new direct entry ordered by Silg:Chaput, France, MD, 12/26/13 21:11
Paychiatry/Mental Health,
Attending Physician (ESOF)

specimen collection Silg:Sealey,Keron Laboratory, 12/26/13 21:49
Lab Assistant (ESOF)

accessioned Sig:Sealey, Keron Laboratory, 12/26/13 21:49
Lab Assistant (ESOF)

documented by Silg:Kabaria, Rajanikant 12/26/13 22:20

Laboratory, Lab Technologist
(HSOF) ,

 
 

* Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 17 of 51

Printed:14 Aug 15 1044:59

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

verified by

[MRN: 3598032
| Patient: Lurch, Robert
|DOB:11/28/1990

| Location: emergency

 

    
   
 
  

ente - continued

:Kapsopoulos, Andrew

Laboratory, Medical Technologist

(ESOF)

[
|
Sex:M Type:EP |
|
|Visit Date:12/26/13 Visit# 3598032-1 |

|

Page

01/04/14 00:37

Status: complete

Collection Time : #26 Dec 13 0200
Collected by Unknown
Specimen SST (30026002)
Mg (mEq/L) : 1.8 (1.3 - 1.9)
Rajanikant Kabaria {26 Dec 13 2220)
Documentation History Employee Date/Time

 

 

 

new direct entry ordered by

Specimen collection
accessioned

documented by

ESOF)
Thu, 26Dec 0200 Phosphate Level derum Status: complete
Collection Time : : 26 Dec 13 oO200
Collected by :_ Unknown
Specimen SST (30024002)
Phosphate (mg/dL) : 4-2 (4,7 = 4.5)
Rajanikant Kabaria (26 Dec 13 2220)
Decumentation History Employee Date/Time

 

Sig:Chaput,France, MD,
Psychiatry/Mental Health,
Atttending Physician (ESOP)
Silg:Sealey, Keron Laboratory,
Lab Assistant (ESOF) ©
Sig:Sealey,Keron Laboratory,
Lab Assistant (ESOF)
Sig:Kabaria,Rajanikant
oratory, Lab Technologist

 

12/26/13 21:11

12/26/13 21:49
12/26/13 21:49

12/26/13 22:20

 

new direct entry ordered by

Sig:Chaput, France, MD,
Psychiatry/Mental Health,
Attending Physician (ESOF)

 

12/26/13 21:11

 

 
Case 1:16-cv-02517-AT-RWL

printed:14 Aug 15 1044:59

Bellevue Hospital Center
462 First Avenue
New York, N¥ 10016

All

specimen collection SO Si
La

accessioned Sil
La

documented by Si
La

(E

Thu, 26Dec 0200 Thyroid Stimulati

Collection Time : 26 Dec 13
Collected by : Unknown

Specimen : SST (30026
Remark : Spec #300
Diagnosis : Unspecifi
TSH (ulU/mL) : 0.881 (0

Documentation History ee E
new direct entry ordered by

specimen collection si
accessioned Si

documented by

documented by s

   
  

Document 2. Filed 04/05/16 Page 18 of 51

|MRN: 3598032 |
| Patient : Lurch, Robert
|pOB:11/28/1990 Sex:M Type:EP
|Visit Date:12/26/13 Visitt# 3598032-1
| Location: emergency

 

Events - continued

g:Sealey,Keron Laboratory, 42/26/13 21:49
b Assistant (ESOF)

g:Sealey,Keron Laboratory, 12/26/13 21:49
b Assistant (ESOF)

g:Kabaria,Rajanikant 12/26/13 22:20
boratory, Lab Technologist

mg Hormone Level w/rflx toStatus: complete

0200

002)

26002: 26 Dec 13 0260

ed psychosis

.35 - 4.8)

John Ventrice “(26 Dec 13° 2229)

 

loyee . Date/Time
:Chaput, France, MD, 12/26/13 21:11

ig: Sealey, Keron Laboratory, 12/26/13 21:49

g:Sealey,Keron Laboratory, 12/26/13 21:49
Assistant (ESOF) ©
:Kabaria, Rajanikant 12/26/13 22:20

g:Ventrice, John Laboratory, 12/26/13 22:29
Ip Medical Technician (ESOF)

 
 

 

Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 19 of 51

Printed:14 Aug 15 1044:59 wan ee eee ne eee

|MRN: 3598032
Bellevue Hospital Center | Patient: Lurch, Robert

|
462 First Avenue : |DOB:11/28/1990 Sex:M Type:EP |
New York, NY 10016 [ |
|

|

[Visit Date:12/26/13 Visit# 3598032-1
| Location: emergency

Page 6 of 37

outphtient Chart Print
SSESS SES SSS SSP ER SSer He SsSeeeese= PSSSSSS RSS SCH SSS SR SS SSeS SSS Sess esse sees

All Events - continued

Thu, 26Dec 0200 Ethyl Alcohol’ Level Quant, Serum Status: complete
Collection Time : 26 “2c 13) 0200
Collected by : Unknown
Specimen : SST(30026002)
EtOH (mg/dbL} : 262 (Lewer limit of detection = 10 mg/dL)

Rajanikant Kabaria (26 Dec 13 2249)

 

Documentation History Employee Date/Time
new direct entry ordered by :Chaput, France, MD, 12/26/13 21:11
. chiatry/Mental Health,

ending Physician (ESOF)

specimen collection :Sealey,Keron Laboratory, 12/26/13 21:49
Assistant (ESOF) ,

accessioned :Sealey,Keron Laboratory, 12/26/13 21:49
Assistant (ESOF) ,

documented by :Kabaria, Rajanikant 12/26/13 22:20
oratory, Lab Technologist
OF)

documented by ‘Ventrice,John Laboratory, 12/26/13 22:29
Medical Technician (ESOF)

documented by Sig:Kabaria, Rajanikant 12/26/14a 22:49

 

 
Case 1:16-cv-02517-AT-RWL. Document 2 Filed 04/05/16 Page 20 of 51

Printed:14 Aug 15 1044:59 2 | war rr rT starr see wee re rns e rc srcern
| MRN: 3598032 |
Bellevue Hospital Center | Patient :Lurch, Robert |
462 First Avenue / |pOB:11/28/1990 Sex:M Type:EP |
New York, NY 10016 | |
|vigit Date:12/26/13 Visit# 3598032-1 |

|

Page 7 of 37

All |Events - continued

Thu, 26Dec 0200 Syphilis Treponemal Ab,IgG w/rfix to RPR/TiStatus: complete
Collection Time , : 26 Dec 13, 0200
Collected by : Unknown

Specimen : SST (30026002)

Remark : Spec #30026002: 26 Dec 13 0200

Syphilis IgG Ab : non-reactive (non-reactive)

Syph STD Comment : No Serological evidence of infection with

T.pallidum (incubating or early primary
syphilis |cannot be excluded). Retest in 2-4
weeks if |clinically indicated.

 

 

  
 
 
 
 
  

Maria Nogid "(27 Dec 13° 1311}
Documentation History Employee Date/Time
new direct entry ordered by Sig:Chaput, France, MD, "12/26/13 21:11
Paychiatry/Mental Health,
Atttending Physician (ESOF) .
specimen collection Silg:Sealey,Keron Laboratory, 12/26/13 21:49
4 Lab Assistant (ESOF)
accessioned Siq:Nogid,Maria Laboratory, Lab 12/27/13 13:11
Tachnologist (ESOF) |
documented by Silg:Nogid,Maria Laboratory, Lab 32/27/13 13:11
_ TT chnologist (ESOF})
verified by _ |. Sig:Nogid,Maria Laboratory, bab 12/27/13 13:32
Technologist (ESOF)

 
 

 

Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 21 of 51

Printed:14 Aug 15

Bellevue Hospital Center
462 First Avenue
New York, NY 10016

Thu, 26Dec 0200 Hemogr
Collection Time
Collected by

Specimen

WBC (1079/L)

RBC (10°12/L)

Hgb (g/dL)
Het (%)
MCV (£L)
MCH (pg)
MCHC (g/dL)
RDW (%)
Pit (1079/L}
MPV {f£L)
Neut (%)
Lymp (%)
Mono (%}
Eos’ (%)
Baso (%}
Neut #
Lymp #
Mono #
Eos #
Baso #

Mn Diff?

Documentation History
new direct entry ordered by,

specimen collection

accessioned

1044:59

Outpatient Chart Print
SSS aa ee ee Se SE STS SSS SS SSS SSS SSS HS SSS SSS SSS SSS ==
All Events - continued

am Auto Dif

26 Dec 13) O
Unknown
LavEDTA (3002
>: 7.4 (4),8
"5.26 (41.70
15.4 (14.0
.2 (42 -
89.7 (80 -
29,3 (27 -
32.6 (3 -
13.6 (12 -
194 (1150
8.4 (7.4
53.1 (4la -
38.0 (2I0 -
8.2 (2| -
o.5, (4 -
0.2 (O}.0
3.7 {2.1
2.7 (al. 9
0.6 (oO). 1
0.0 L (d.0
0.0 (o}.0

manual diff

2

Phoom PY |B

 

 

WJibu Abraham

| MRN: 3598032

| Patient : Lurch, Robert |
| DOB; 11/28/1990 Sex:M Type:EP |
| |
[Visit Date;12/26/13 Visit# 3598032-1 |
| Location: emergency — |

Page 8 of 37

f w/rflx to Manual Diff Status: complete

200
6002)

~ 10.8)
- 6,10}
- 18,0}
52)

94}
31}
36)
15)

- 400)

- 10.4)
70)

45)

10)

4)

.0)

.6)

.9)

. 0}

.5}

- 0.1}

net needed

I
or FP ~1N

(26 Dec 13 2207}

loyee Date/Time

ig:Chaput, France, MD,
chiatry/Mental Health,

tending Physician (ESOF)

ig:Sealey,Keron Laboratory,

Assistant ({ESOF)

ig: Patel,Mahendrakumar, Lab

12/26/13 21:11

12/26/13 21:49

12/26/13 21:52

sociate (Level A) (ESOF}

 

 

 
Case 1:16-cv-02517-AT-RWL pooument 2 Filed 04/05/16 Page 22 of 51

Printed:14 Aug 15 1044:59 2 | 0 wnnn nn nee en nnn treet nn cnn nrc t ner essere
|MRN: 3598032 |
Bellevue Hospital Center [| Patient: Lurch, Robert |
462 First Avenue }DOB:11/28/1990 Sex:M Type:EP |
New York, NY 10016 | oO
[visit Date:12/26/13 Visit# 3598032-1 |
|Location: emergency |

Page 9 of 37

All Evente - continued

documented by Sig:Abraham,Jibu Laboratory, 12/26/13 22:07
Lab Medical Technician (ESOF)
verified by Sig:Amin,Upendra Laboratory, 12/26/13 23:00

Lab Medical Technician (ESOF)

 

 

Thu, 26Dec 2058 ED Triage Note Status: complete
Life Saving : Complete [Full Triage Note
Communication Method : Direct Communication in English
Restraints : Patient brought in to ED in handcuffs.
Mode of Arrival : city ambulance
Chief Complaint : psych eval,
Assessment ; pt agitatled, no medical complain
Past Medical/Surgical Hx : denies
Medications on Arrival : denies
Allergies - Medications :-no known |drug allergies
Allergies - Other -: no known jallergens
Domestic Violence : Domestic /Violence: no
Psych Risk Assessment : Patient sent for Psychiatric evaluation
. , and/or cllearance
Suicide/Homicide : Suicidal: no Homicidal?: no 1:1: no
: Destination: Adult CPEP.with Escort
ED Alerts : NYPD Prigoner;
Blood Pressure : 135/96
Pulse » 65
Respirations : 18
Temperature : 96.9 F (36.1 C)
Temperature Method : Tympanic
02 Saturation : 98 4%
Suspected Infection? : no
Alteration of Mental Stat: no
Pain Screen : pt denies pain at this time
ESI Level | : 4
Team Assigned : CPEP
Kazumi Inose, RN (26 Dec 13 2059)
Decumentation History _.... Employee Date/Time

 
 

 

Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 23 of 51

Printed:14 Aug 15

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

1044:59

[MRN: 3598032 - |
| Patient: Lurch, Robert |
[DOB:11/28/1990 Sex:M Type:EP |
| |
[Visit Date:12/26/13 Visit# 3599032-1 |
| Location:emergency |

Outpatient Chart Print
SSS SS SSSR SS SS SSSSSRSSEo SSSR See ees see See Sees sees see see ssa eecsseceeceececen
All Events - continued

Sig: Inose, Kazumi,

RN Nursing, 12/26/13 20:59

Nurse - Registered (ESOF)

Thu,
. Discipline
Author
Note Type
Contact
Preferred Language
Language Used
Note (WP)

Documentation History
documented by

corrected by

: Enelish

26Dec 2111 Psychiatry Attendi

Attending

ng Other Note Chaput, F Status: corrected

: France Chaput, MD
Psychiatry

Direct patient contact

Engiish
Pt is a 23

yo BM with unknown psychiatric hx

BIB EMS after he became disruptive ina

Chinese yestaurant,

did not pay for his food

anc startled breaking things. At arrival pt is

agitated,
custody}
placed in

En

Sig:Chaput , France, MD
Paychiatry/Mental Health,

threatening NYPD (he is not in

and unable to cooperate. He was

wrist and ankle restraint and was

given 'Haldol 5 mg IM and Ativan 2 mg IM.
France Chaput, MD

(26 Dec 13 2142)

Date/Time
12/26/13 21:14

loyee

Attending Physician (ESOF)

Silg:Chaput, France,
Pdychiatry/Mental Health,
Attending Physician (ESOF)

MD 12/26/13 21:42

 

 

 

Thu, 26Dec 2112 Haloperidol iactate Status: complete
Dose/Route :. 2 mb, inj |intramuscu
Admin: Info : % mb (8 mg) of Haloperidol Lactate 5 mg/mL
. ,vanjedtion, 1 mL
Site deltoid
4 - Maria D Marquez, RN (26 Dec 13 2112)
Documentation History ~ | Employee Date/Time

 
Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 24 of 51

Printed:14 Aug 15 1044:59 2 | wrt rata eee eee ee eee ce rne

|MRN: 3598032 |

Bellevue Hospital Center | Patient: Lurch, Robert |

462 Firat Avenue |DOB:11/28/1990 | © Sex:M Type:EP |

New York, Ny¥ 10016 | |
Visit Date:12/26/13 Visit# 3598032-1 {
| Location: emergency

 

¢) All Events - continued

new direct entry orderedby" ~ Sig:Chaput, France, MD, 12/26/13 21:11
Psychiatry/Mental Health,
Attending Physician (ESOF)

documented by Sig:Marquez,Maria D, RN 12/26/13 21:12
Psychiatry/Mental Health, Staff
Nurse (ESOF)

Thu, 26Dec 2112 LORazepam Status: complete
Dose /Route : 2 mg intremuscu
Admin Info : 2 mg (1 mL) of LORazepam 2 mg/mL Injection, 1
mL Carpuject

Site : deltoid
, Maria D Marquez, RN (26 Dec 13 2112}

Documentation History Employee Date/Time
new direct entry ordered by Sig:Chaput,France, MD, 12/26/13 21:11
Psychiatry/Mental Health,
Attending Physician (ESOF)
documented by . ae Sig:Marquez,Maria D, RN 12/26/13 21:12
Psychiatry /Mental Health, Staff
Nurse (ESOF)

Thu, 26Dec 2114 Transfer tq CPEP Note . Status: complete
Review Prior Visit . NOTE: This triage note supplements the full
triage note completed on this patient during
the AES/CPEP visit that was just completed.
Perform chart review to review all
information from that visit.

 

Date & Time : Thu, 26 Dec 2013 2114
Patient's Chief Complaint: psych eval,
Team Assigned : CPEP

Maria D Marquez, RN (26 Dec 13 2114)

Documentation History Enployee Date/Time
documented by Silg:Marquez,Maria D, RN 12/26/13 21:14
Pdychiatry/Mental Health, Staff
 

Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 25 of 51

Printed:14 Aug 15 1044:59

|MRN: 3598032 |

Bellevue Hospital Center | Patient: Lurch, Robert .

462 First Avenue |DOB:11/28/1990 Sex:M Type:EP |

New York, NY 10016 | |
|
|

[Visit Date:12/26/13 Visit# 3598032-1
| Location: emergency

 

All ents - continued

Nurse (ESOF)

 

 

 

 
Case 1:16-cv-02517-AT-RWL

Printed:14 Aug 15

1044:59

Bellevue Hospital Center

462 First Avenue
New York, MY 10016

Thu, 26Dec 2117 CPEP RN Assessment (Adult)

Arrival Time to CPEP
Marital Status
Race/Ethnicity
Religion

Source of Referral
Language ,

Preferred Language (s)

Reason for Visit at Triag:
Patient's Chief Complaint:
Suicide/Self Harm :

Recent Medications :
Allergies Med
Allergies Other

Diet —
Substance/Alcohol Use
Smoking

Past Medical History
Pain Assessment

Skin Assessment /Pressure

(WF):

Braden Scale Score:

Perception:
no sensory
to feel or

: no lmown

Thu, 26 0
Unable to
Black or
unable toa
Self, fam

Engli

psych ev
pay eval
New Assm
doc
Una
obt
unable t
no known

reguiar
unable to
not asse
Unable toc
no pain i

a deed

23 Srader

Document 2 Filed 04/05/16 Page 26 of 51

|MRN: 3598032 |
| Patient: Lurch, Robert |
|DOB:11/28/1990 Sex:M Type:EP |
| |
lvisit Date:12/26/13 Visit# 3598032-1 |
|Location: emergency |

atient Chart Print
pce reece He Ree S SRS SS SERCO ESSE SRS SESS SEES
Eyents - continued
Status: complete
ec 2013 2114
Obtain
African American

obtain
ily or friend;

 

nh
1,

No new suicide assessment
mented Self Harm Indications:
le to assess Comment: unable to
in

obtain
drug allergies
allergens

assegs

ssed

obtain

ssues at this time

Seale: No Risk Sensory

responds to verbal commands. has
deficit which would: limit ability
voice pain or discomfort.

Moisture: gkin is usually dry Activity:

walks frequ
Mobility: m4
assistance
meal Fricti
chair indep

 

ently during waking hours

akes position changes without
Nutrition: eats most of every
on & Shear: moves in bed and in
endently

 
 

Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 27 of 51

Printed:14 Aug 15 1044:59

Bellevue Hospital Center
462 First Avenue
New York, NY 10016

Thu, 26Dec 2117 CPEP RN Assessmen

Skin Assessment: SKIN INTACT: Yes
: and Intact;

Pressure Ulcer : PRESSURE ULCER:

Fall Risk , : Fall Hist

Elopement Risk : No elopem
Broset Violence Checklist: Confused:

Hx of Restraint/Seclusion: yes

None

 

 

All

IMRN: 3598032

| Patient: Lurch, Robert
|DOB:11/28/1990 Sex:M Type:EP
|Visit Date:12/26/13 Visit# 3598032-1
| Location: emergency

ents - continued

t (Adult) -- cont'd

SKIN CONDITION DESCRIPTION: Dry

Ro, pressure ulcer

pry: No history of falls within

the flast (6) months Age: «< 60 Yrs
‘Secondary Diagnosis/Co-Morbidity:

present Incontinence: No

incontinence
Urgency/Frequency/Nocturia Status:

None

 

present Fall Risk Drugs; pt had

a sedated procedure within the past

   

"Ste

‘Mobility,Transfer or

y gait Visual or Auditory

‘Impairments: Visual or Auditory

imp
Equi

  

irment do NOT affect gait Pt Care

ment : None present Altered

Awareness of Immediate Physical
Environment: No altered awareness

Impul

siveness: Pt impulsive

Limitations: Pt lacks understanding
of their physical and cognitive
limitations Score: 13 Risk: High Risk

ent risks identified

absence of behavior Irritable:

presence of behavicr Boisterous:
presence of behavior Physically
Threatening: presence of behavior’
Verbally threatening: presence of

 

beh

ior Attacking objects: absence

of Hehavior Total Score: 4 Risk

Level:

 

imminent risk for viclence

 

 
Case 1:16-cv-02517-AT-RWL

Printed:14 Aug 15

1044:

59

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

Document 2. Filed 04/05/16 . Page 28 of 51

| MRN: 3598032 . {
| Patient: Lurch, Robert |
| DOB: 11/28/1990 Sex:M Type:EP |
| : |
visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |

 
 
 
   
  
  
 

 

vents - continued

 

Thu, 26Dec 2117 CPEP RN Assessme (Adult) -- cont'd

Agitating Circumstances : patient t reatening

Interventions medicated) with ativan 2 mg IM stat and Haldol
5 mo IM stat @2110 ,

Preferences medications

Risks/Alerts violence Risk,Falls Risk

Risk/Alert Details fall prec, assault prec

Contraband : None

Oriented to Unit Ip Band; Visiting/Telephone; No Smoking
Policy; Bill of Rights; Unit Rules/Treatment
Prgorams ; Patient/Family Participation.

Barriers to Assessment Patient itated or threatening

Comment Patient was bib ems agitated and threatening

staff combative yelling and cursing and not
amenable with redirection per MD chaput
received lativan 2 mg IM stat and haldol 5 mg
IM stat @2110 and was placed on wrist and
ankle restraints 2110
cau aria D Marquez, RN (26 Dec 13 2127)

Documentation History Employee Date/Time

 

 

‘documented by

Thu, 26Dec 2128 Nursing
Preferred Language(s)
Communication Ability
Language Used
Most Recent VS

Vascular Lines

S
P

abe

Progress

: Engiish
. Bble to

English
T 96.9,
20:58)
no vascu

fg:Marquex Marts D, RN 12/26/13 21:27

ychiatry/Mental Health, Staff

Nurse (ESOF)

Note w/Care Plan (Psych (Status: complete
dommunicate
B65, R18, BP 125, O02 Sat 98 (12/26

iar lines

 
Printed:14 Aug 15

1044:59

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

All

Thu, 26Dec 2128 Nursing’ Progress

Problems

Nsg Prob & Intvwns (WP)

Evaluation (WP)
Author
Progress Note (WB)

_ cursing.#

: RN

[MRN: 3598032 {
| Patient: Lurch, Robert |
| DOB: 11/28/1990 Sex:M Type:EP |
|
|
|

|
|Visit Date:12/26/13 visit# 3598032-1
| Location: emergency

Events - continued

 

Note w/Care Plan (Psych) ( -- cont'd
Danger to others Evidence:

severely agitated behavior,loud and
verbally abusive and not amenable

wit
- not
Obj
sta
hou
com
res
as

: Apply re

Check re

redirection. Goals: Patient will
be a danger to self and others
ctives: Patient will not threaten
f and will not attack staff in 2
S,patient will be sfe and
ertable when placed in
raints,Patient will be released
arly as indicated

traints properly
traints gq 15 minutes for good

Circulation and skin integrity

Asséss mental status -and monitor for any
Significant changes /

Provide comfort measures such as fluids food

Reassegs

“elimination ROM etc

patient for possibility of early

_ release from restraints every 15 minutes

d/c restraints as indicated meeting the

criteria

for release

administer medication as ordered by MD.

Provide gafe calm and supportive

Paitent

environment
alm at this time

q
Maria D Marquez, RN
y

Patient
comhative

fas uncooperative on arrival.patient
and threatening staff yelling and
atient was medicated with Ativan 2

 

mg IM stat and Haldol 5 mg IM stat @2110 and
q

wrist an
2110-2148
medicatid

ankle restraints
-patient's vital signs taken post
ms 114/53,89 pulse rate, 20

respiration 89 pulse rate,97.2 temp.,

Bee

Maria D Marquez, RN (26 Dec 13 2142)

 

 

 
Case 1:16-cv-02517-AT-RWL

Printed:14 Aug 15 1044:59

Bellevue Hospital Center
462 First Avenue
New York, NY 10016

Document 2 Filed 04/05/16 Page 30 of 51

|MRN: 3598032 |
|Patient : Lurch, Robert |
|DOB: 11/28/1990 Sex:M Type:EP |
| [
[visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency . |

 

“ALL frente - continued

loyee Date/Time

 

Documentation History Em

documented by Sig:Marquez,Maria D, RN 12/26/13 21:42
Psychiatry/Mental Health, Staff
Nurse (ESOF)

Thu, 26Dec 2133 CPEP Int
Dispo Date/Time :

erim Disp
Thu, 26 D

Interim Disposition Hold

Primary Diagnosis Unspecifi
Medical Necessity Significa
Risks/Alerts Violence
Risks/Alerts Details fall prec
Preliminary Treatment Pla: Close Obs

Plan Detail

Attending

Documentation History
documented by ,

bsition Note
ec 2013 2133

Status: complete

ed psychosis .

ht danger to self or others
hisk,Falls Risk

;assault prec

Lervation (q 15 min); Watch for

signs/symptons of withdrawal; Individual

Therapy;
-place on
assault p
zlahs
-re-asses
Frante Ch

ig: Chaput, France, MD

Group Therapy; Milieu Therapy i
hold; PRN meds for agitation;
recautions

when pt is able to cooperate
put, MD

rance Chaput, MD (26 Dec 13. 2134)
loyee Date/Time
12/26/13 21:34
ychiatry/Mental Health,

tending Physician (ESOF)

 

 
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Bellevue Hospital Center

462 First Avenue
New York, NY 10016

Thu, 26Dec 2135 Adult CPEP CAF

Arrival Time to CPEP

Time Pt Seen by Physician: Thu, 26 D

Language
Preferred Language(s)

Assessment Type
Race/Ethnicity
Source of Referral
Phone Number (s}
Source of Information

1044:59

:. Black or

: Unable tq

Personal Collateral Conta:
Professional Collateral Cc:
Chief Complaint at Triage:
Patient's Chief Complaint:
History of Present Illnes:

Past Psychiatric History
Psych Hx Reviewed?

Psychopharm History
High Risk Psych Hx
AOT Status

Past Medical History
Allergies Med
Allergies Other

: no known

. BIB EMS a
Chinese x

sedation,
:. Unable ta
“No existi

All

Thu, 26 2

Englis

Full Asse

|MRN: 3598032 |
| Patient: Lurch, Robert

| DOB: 11/28/1990 Sex:M Type:EP |
| |
[Visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |

Events - continued

Status: complete
ec 2013
ec 2013

2114
2135

h

ssment
African American

Self, family or friend;

Patient

obtain

none known
none known

psych eva
psy eval
Pt is a

and start
agitated,
custody}

I,

23 yo BM with unknown psychiatric hx
fter he became disruptive ina
estaurant, did not pay for his food
ed breaking things. At arrival pt is
threatening NYPD (he is not in

and unable to cooperate. He was

placed in wrist and ankle restraint and was

given Hal
cannot be

document
history 4
Unakle tq
Unakie tq
Unabie tq
Ynable td
no known

dol 5 mg IM and Ativan 2 mg IM. He
interviewed at this time due to

assess

ng Past Psychiatric history

d. Unable to assess patient for
t this time.

assess

assess
assess

obtain.
drug allergies
allergens

 

 
Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 32 of 51

Printed:14 Aug 15 1044:59 2 | wernt rrr rrr tts cern cores essen reer
_  |MRN:3598032

Bellevue Hospital Center 0 | Patient: Lurch, Robert .

462 First Avenue | DOB: 11/28/1990 Sex:M Type:EP
New York, NY 10016 | .

|Visit Date:12/26/13 Visit# 3598032-1
| Location: emergency

>All |Events - continued

Thu, 26Dec 2135 Adult CPEP CAF -/ cont'd
Home Meds/Attestation

Attestation - Unable ta obtain medication list due to Patient
unable or unwilling to communicate and collateral
unavailebie. Any medications on the list are
unverified.

Substance/Alcohol Use t unable tq assess
Substance/Alcohol Use Hx : No existing Substance/Alcoholi Use history
document ¢a. Unable to assess patient for

histery at this time.

Abuse/Trauma History : Unable ta Assess

Trauma Hx Reviewed? : No existing Abuse/Trauma history documented.
Unable to assess patient for history at this
time.

AcS/ APS Involvement : unable to assess

Family History : Unable tq assess

Current Residence : Unable to Assess

Social/Development Histor: unable to assess

RN Suicide Assessment : New Asem: No new suicide assessment

documented Self Harm Indications:
.. .:,Unable to assess Comment: unable to
' “obtain
Suicide/Self Harm : Mew Assmt: No new suicide assessment
.. _, dockmented Addt] Findings: unable to
J At ass ss Self Harm Indications: None
Pertinent RN Violence Ass: :Cénfused absence of behavior Irritable:
oo ‘presence of behavior Boisterous:
presence of behavior Physically
_ ‘Threatening: presence of behavior
' Verbally threatening: presence of
behavior Attacking objects: absence
of behavior Total Score: 4 Risk
Level: imminent risk for violence
Violence Risk Factors : Agitated]Hostile, Recent violence

 

 
 

 
 

 

Case 1:16-cv-02517-AT-RWL

Printed:14 Aug 15 1044:

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

59

Document 2 Filed 04/05/16 Page 33 of 51

|MRN:3598032 |
| Patient:Lurch, Robert |
|DOB:11/28/1990 Sex:M Type:EP |
| |
[visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |

Events - continued

Thu, 26Dec 2135 Adult CPEP CAF --| cont'd

Medical Evaluation :

General : healthy appearing, in no acute distress, well

developed,

well nourished,

~--------- : : Superior --> Inferior
weoee-e-ee : Surface -->

Mental Status Exam
Appearance

Behavior
Behavior (more)

Speech

Thought process
Thought content
Suicidal ideation
Aggressive ideation

Perceptual disorders
Mood

Affect

Impulse control
Cognitive function
Insight

Judgment

Mental Status Exam Time

Barriers to Assessment

Axis I Diagnosis :

Axis V Diagnosis :
Strengths
Formulation

Deep

‘Appdars stated age, Adequately

dressed, Disheveled
Hostile, Agitated

5

Ow

sedated and unable to participate in

interview

Unable to assess
Unable to assess
Unable to assess

 

 

 

 

: Unable to assess

Violent thoughts

Aggressive ideation (more) : was
: Unable to assess
Unable to assess
Incveased intensity,Labile affect
Impaired impulse control

 

threatening NYPD

 

Reduced arousal
Unable to assess

: Impaired judgment
: 26 Dec 13 2138

Patient agitated or threatening; Patient

unable;

Unsrecified psychosis

Current

AF Score: 20.

G
General good health,

Pt isa

3 yo BM with unknown psychiatric hx

 

 

 
Case 1:16-cv-02517-AT-RWL

Printed:14 Aug 15

Bellevue Hospital Center
462 First Avenue
New York, NY 10016

SSSSBSeB BSS Sees sSsSeS Sse TSI strrass

Thu, 26Dec 2135 Adult CPEP CAF --

Attending

Documentation History
documented by

1044:59

outp

ae

ba

2. ALL

BIB EMS a
Chinese x
and start
agitated,
custody)

placed in
given Hal
cannot be
sedation,
Diff dx j
psychotid
psychotid

Document 2 Filed 04/05/16 Page 34 of 51

| MRN: 3598032 |
|Patient:Lurch,Robert | |
[DOB:11/28/1990 Sex:M Type:EP |
| |
|Visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |

atient Chart Print
SSS SSS SS SS SS SSS SSS SSS SS OSS SSS SSS SSS SSS SES SSS SSTE=
Events - continued

cont'd

fter he became disruptive ina
estaurant, did not pay for his food
ed breaking things. At arrival pt is
threatening NYPD (he is not in

and unable to cooperate. He was
wrist and ankle restraint and was
dol 5 mg IM and Ativan 2 mg IM. He
interviewed at this time due to

nclude substance related d/o NOS,
d/o NOS, mood d/o NOS, r/o
and mood d/o due to GMC. Pt is at

 

acute ri
violence,
will be

re-asses

k of harm to others given recent
agitation at arrival in CPEP. He
laced on hold for safety and
when he is able to cooperate.

France Chaput, MD

Con gd

France Chaput, MD (26 Dec 13 2141}

Employee Date/Time

ed

At

 

q:Chaput, France, MD’ 12/26/13 21:41
ychiatry/Mental Health,

tending Physician (ESOF)
 

 

Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 35 of 51

   
  
 
    

Printed:14 Aug 15 1044:59

| MRN: 3598032 |
| Patient: Lurch, Robert |
|DOB:11/28/1990 Sex:M Type:EP I
|
|

Bellevue Hospital Center
462 First Avenue
New York, NY 10016

|
[Visit Date:12/26/13 Visit# 3598032-1
| Location: emergency |

“Outpatient Chart Print

All |Events -~- continued

Thu, 26Dec 2146 Vital Signs IP

 

 

Status: complete
BP : 114/53
Pulse : B39 bpm
Resp : 18 breaths/min
Resp Description : regular, junlabored
O02 Sat , : n/a
Temp . : 97.8 F (46.6 C}
Temp Method :, tympanic lmembrane
Pain : no
Pain (Trend) : 9
, Celso Diokno, Psych Tech
{26 Dec 13 2147)
Documentation History Ertployee Date/Time
documented by Sig:Diokno, Celso, Psych Tech 12/26/13 21:47

Scanned ER Notes
Comment . t

Psychiatry/Mental Health,
Patient Care Technician (ESOP)

Thu, 26Dec 2253 BHC ,Scanned.ER records

sée scan|result (see image #2)
t acr

Status: complete

Alexandra Basquiat (26 Dec 13 2253)

Documentation History E

loyee
documented by

Date/Time
Sig:Basquiat , Alexandra Medical 12/26/13 22:53
Records (ESOF)

 
Case 1:16-cv-02517-AT-RWL

  
 
  
  
 
  
 
    
  

Document 2 Filed 04/05/16 Page 36 of'51

|MRN: 3598032 |
{patient : Lurch, Robert
|DOB: 11/28/1990 Sex:M Type:EP

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jis 1
|

Printed:14 Aug 15 1044:58

Bellevue Hospital Cente:
462 First Avenue

New York, NY 10016
|visit pate:12/26/13 Visit# 3598032-1

|Location: emergency

Outpatient Chart Print

All |Events - continued

Fri, 27Dec 0141 Vital Signe IP Status: complete

BP : 100/59

Pulse : 76 bpm

Resp : 18

Resp Description : unlabored
02 Sat :

Temp 3

Temp Method 2. tympanic membrane
Pain oy

Pain (Trend) 4
Lourdes Rivera, Psych Tech

(27 Dec 13 0141}

Documentation History Employee Date/Time
documented by Silg:Rivera, Lourdes, Psych Tech 12/27/13 01:41
P ychiatry/Mental Yealth,
Pdychiatric/social Health (ESOF)

Fri, 27Dec 0449 Nursing Procress Note w/Care Plan (Psych) (Status: complete

preferred Language (s) : English

Communication Ability : Able to ommunicate

Language Used . + English :

Most Recent VS : T 97.7, H 76, R18. BP 100, 02 Sat N (12/27
01:41)

Vascular Lines : BG Vvascu ar lines
Printed:14 Aug 15

Bellevue Hospital Center
462 First Avenue
New York, NY 10016 |

[Visit Date:12/26/13 Visit# 3598032-1

Sn SSSR ESS SSE TSR REESE SSSR RSS ESSE SSeS eee ees eas ees csecccenceecceee
All (Events - continued
Fri, 27Dec 0449 Nursing Progress Note w/Care Plan (Psych) ( -- cont'd

Problems

Nsg Prob

Evaluation (WP)

Author

1044:59
|MRN: 3598032

|DOB:11/28/1990

| Location: emergency

Outpatient Chart Print

RN :

|

| Patient: Lurch, Robert |
Sex:M Type:EP |
|

|

TOSS Se se om ee LL

Danger to others Evidence:

severely agitated behavior, loud and

ver
with
not

redirection. Goals:
be a danger to self and

 

 

ally abusive and not amenable
Patient wili

others

Objectives: Patient will not threaten
staff and will not attack staff in 2
houts,patient will be sfe and

comfortable when placed in

restraints, Patient will be released

as early as indicated

& Intvns (WP) Apply restraints properly

Check restraints q 15 minutes for good

circulation and skin integrity
Assess mental status and monitor
significant changes

for any

, Provide qomfort measures such as fluids food

,,flimination ROM etc

Reassess jpatient for possibility
release from restraints every 15

d/e restraints as indicated meet

criteria |for release

administer medication as ordered
Provide gafe calm and supportive
Patient able to sleep throughout

_. Will reagsess mental status when
when he is able to ccoperate.
Elma DelaCruz, RN

 

 

of early
minutes
ing the

by MD.

environment

the shift.
awake and

 

 
Case 1:16-cv-02517-

Printed:14 Aug 15 1044:

AT-RWL

59

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

Fri, 27Dec 0449 Nursing
Progress Note (WP) :

Documentation History
documented by

Progress
Patient

wes rele
In no ap
brea thin
monitore
EKG was

reevalua
observe

environm

Employee
Sig:DelaCruz, Elma, RN

 

Document 2 Filed 04/05/16 Page 38 of 51

|MRN: 3598032

| Patient :Lurch, Rober
|DOB: 11/28/1990
|visit Date:12/26/13 Visit# 3598032-1
|Location: emergency

t
Sex:M. Type:EP

Events - continued

 

Note w/Care Plan (Psych) ( -- cont'd
as been asleep since 2145 after he
sed from wrist and ankle restraint,
arent distress w/ spontaneous
pattern. Vital signs checked and
closely,wnl. Blood was drawn and

one. Patient was placed on hold for
jon in the morning. Will continue to

nd provide safe and supportive

anit .

Elma DelaCruz, RN (27 Dec 13 0454)

Date/Time

12/27/13 04:54

 

Prychiatry/Mentat Health, Staff
Nirse (ESOF)
Fri, 27Dec 0606 Vital Signs IP Status: complete
BP : 105/66 mmHg
Pulse 82 bpm
Resp 18 breaths/min
O2 Sat n/a
Temp i 96.9 F (36.1 C)
Pain no |,
Pain (Trend) QO, /
yy. Syrlene Weekes, NA (27 Dec 13 0607}
Documentation History *" Bhployee Date/Time
documented by : : Sig:Weekes,Syrlene, NA 12/27/13 06:07

sychiatry/Mental Health,
(ESOF)

 
Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 39 of 51

 

 

Printed:14 Aug 15 1044:59 | 9 --------+-+------------ ee ee eee
|MRN: 3598032 |
Bellevue Hospital Center |Patient:Lurch,Robert | |
462 First Avenue | DOB: 11/28/1990 Sex:M Type:EP
New York, NY 10016 | |
|Visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |
Page 26 of 37
= Outpatient Chart Print
‘" All |Events - continued
Fri, 27Dec 0938 Vital Signs IP Status: complete
BP : 123/66 mmHg
Pulse 64 bpm
Resp 18 breaths/min
Resp Description regular, junlabored
02 Sat : n/a
Temp 97.1 F (36.2 C)
Temp Method tympanic |membrane
Pain| : no
Pain (Trend) 7 4
Celso Diokno, Psych Tech
(27 Dec 13 0938)
Documentation History endooyes Date/Time
documented by Sig:Diokno,Celso, Paych Tech 12/27/13 09:38
Psychiatry/Mental Health,
Patient Care Technician (ESOF)
summary: result review Sig:Baptiste,Katiuscha, RN 12/27/13 10:08
ee Psychiatry/Mental Health, Nurse
- |Registered (ESOF}
Fri, 27Dec 1008 Nursing Progress |Note w/Care Plan (Psych) (Status: complete
Preferred Language(s) : English ,
Communication Ability : Able to ¢ommunicate
Language Used English | .

Vascular Lines

no vascul

 

ar lines

 
Case 1:16-cv-02517-AT-RWL

Printed:14 Aug 15

Bellevue Hospital Center

462 F

irst Avenue

New York, NY 10016

Fri,
Problems

Nsg Prob & Intvns

Evaluatl
Author

27Dec 1008 Nursing Procress

(WP)

on (WP)

1044:59

RN

Document 2 Filed 04/05/16 Page 40 of 51

|MRN: 3598032 |
| Patient: Lurch, Robert |
|DOB:11/28/1990 Sex:M Type:EP |
| |
l\visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |

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Events - continued

Note w/Care Plan (Psych) ( --
Danger to others Evidence:

cont'd

severely agitated behavior, loud and

 

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Obj
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how.
com
res
as
Apply re
Check re
circulat
Assess ™
signific
Provide
Reafsess
release
d/c res
oxiteria
administ
provide
Patient
Katiusch

 

hally abusive and not amenable

redirection. Goals: Patient will
be a danger to self and others
ctives: Patient will not threaten
f and will not attack staff in 2
s,patient will be sfe and
ortable when placed in
rainte, Patient will be released
arly as indicated
traints properly

traints q 15 minutes for good
on and skin integrity
ntal status and monitor for any
nt changes
omfort measures such as fluids food
on ROM etc
patient for possibility of early
rom restraints every 15 minutes
raints as indicated meeting the
for release
yr medication as ordered by MD.
afe calm and supportive environment
as not a danger to self or others
Baptiste, RN
 

 

Printed:14 Aug 15

Bellevue Hospital Center

Case 1:16-cv-02517-AT-RWL, Document 2 Filed 04/05/16 Page 41 of 51

1044:

462 First Avenue
New York, NY 10016

Fri,

27Dec
Progress Note

1008 Nursing
(WP) :

stimuli,

53

Progress

|MRN: 3598032

| Patient : Lurch, Robert
|DOB:11/28/1990 Sex:M
|

|visit Date:12/26/13 Visit# 3598032-1
| Location: emergency

|
|
Type:EP |
|
|

Events - continued

Note w/Care Plan (Psych) ( -- cont'd

Patient receive alert and responsive to all

aroused.
pain and

resting in OB1 on stretcher easily
No apparent distress noted. Voice no
no discomfort at present time. Mood

 

is calm
tolerate
judgment
suicidal
haliucin

nd cooperative, appetite is good and
85% of his meal. Insight and

igs limited. denies

homicidal ideation and denies A/V

tion, Supportive and therapeutic

milieu maintained. Safety maintained

' Patient
TER. Discharge instructions provided and

verbaliz
services

as seen and re-evaluated by MD for

understanding. Refused social work
Personal belonging and property

given and received. Patient left unit in
stable condition.

 

. Katiuscha Baptiste, RN
(27 Dec 13 1145)
Documentation History Employee Date/Time
decumented by Sig:Baptiste,Katiuscha, RN 12/27/13 10:39
Psychiatry/Mental Health, Nurse

documented by

Fri, 27Dec 1140 CPEP Patient Exi

Note Type
Time of EB
Documente

mit /Re-Entry
d By :

CPEP Pt

Sig:Baptiste, Katiuscha, RN
P

Registered (ESOF)
12/27/13 11:45

sychiatry/Mental Health, Nurse
Registered (ESOF)

tL WB Note Status: complete
Bxit
bec 2013 1140
Katjuscha Baptiste, RN
. Katiuscha Baptiste, RN
{27 Dec 13. 1148)

 

 
Case 1:16-cv-02517-AT-RWL Dpcument 2 Filed 04/05/16 Page 42 of 51

Printed:14 Aug 15 1044:59 wae nen nn none no eee ee ee eee
{MRN: 3598032

Bellevue Hospital Center | Patient: Lurch, Robert |
462 First Avenue {DOB:11/28/1990 Sex:M Type:EP |

New York, NY 10016 |
|Visit Date:12/26/13 Visit# 3598032-1
| Location: emergency

All |Events - continued

Documentation History Employee , Date/Time
documented by Sig:Baptiste,Katiuscha, RN 12/27/13 11:48
Psychiatry/Mental Health, Nurse

- |Registered (ESOF)

Fri, 27Dec 1140 CPEP Patient Exit WB Note Status: complete
Note Type : CPRP Pt Exit
Time of Exit/Re-Entry. 4,Fri, 27 bee 2013 1140
Documented By ': Katiuscha Baptiste, RN

Katiuscha Baptiste, RN
(27 Dec 13 1149)

Documentation History Employee Date/Time
documented by Sig:Baptiste, Katiuscha, RN 12/27/13 11:49
Psychiatry/Mental Health, Nurse

-|Registered (ESOF)

 
 

 

Case 1:16-cv-02517-AT-RWL ocument 2 Filed 04/05/16 Page 43 of 51

Printed:14 Aug 15

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

104425900 [renee enn nee ee eee e eee eee

| MRN: 3598032 |
| Patient :Lurch, Robert . [
| DOB: 11/28/1990 Sex:M Type:EP |
| |
|Visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |

All |Events - continued

Fri, 27Dec 1200 CPEP Disposition Note Status: complete

Dispo Date/Time

Disposition
Primary Diagnosis

Hospital Course (WP)

Fri, 27 Dec 2013 1200

Discharge/Release

Adjustment disorder with disturbance of
conduct
Patient geen, chart reviewed. VSS. ETOH =
262. All jother labs wnl. No urine Provided.

Patient #equests to leave. He states he was

getting Chinese food and they did not give
him the tight change so he was demanding his
change as he is very concerned for his
financial situation recentiy. Next he states
the polide showed up and he refused to leave
but he ew they didn't have any reason to
arrest him and they brought him to CPEP. He
states he was agitated here because the cuffs

 

  
 
 

were too/tight but minimizes the extent of

it. He also endorsed drinking J bottle of
liquor yesterday for a friend's birthday but
denied amy other substances. He denies daily
alcohol. /He states that his left hand still
but declined medical attention
stating that in his experience it usually
in a few days.

_ PPH: H/o/hospitalizations and ED visits for

anger issues but states he has since learned
how to better control his anger; multiple

arrests and incarcerations including robbery
and crack sale, no felonies, frequent fights

- PMH: s/p|2 stab wounds, 1 in R neck and 1 in

L wrist which cause pain intermittently
All: states Haldel leads to trouble breathing

 

 
Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 44 of 51

ny

printed:14 Aug 15 1044:59 0 | wrrnraretznm
|MRN: 3598032 |

Bellevue Hospital Center | |Patient:Lurch, Robert |
462 First Avenue |DOB:11/28/1990 Sex:M Type:EP |
New York, Ny 10016 | | |
|visit Date:12/26/13 visit# 3598032-1 |

|Location: emergency |

All |Eventea - continued

Fri, 27Dec 1200 CPEP Disposition Note -- cont'd
but notably no reaction occurred last night

MEDS: none

.SH: B/R WYC. Some family in the south. Never
worked. Has food stamps but no other
benefits Considering applying to cuUNY for
web design. Lives with friends.

MSE: adequately groomed young man with hair
half in braids, good ec, cooperative and
pleasant, speech nl rev, no pma/r, mood:
euthymic| affect: reactive, tp: linear tc: no
ah vh , no si hi, i/j: good/good

I: ETOH intoxication
Ir: def
III: s/p| stabbings
IV: unemployed

vi 55

Chronic Fisk factors for dangerousness to
self, and| others including substance abuse,
orior arrests, prior hospitalizations and
violence. AT this time patient is calm and
tn control, denies SI and HI, is not
intoxicatted nor in withdrawal and is future
oriente _ He will be released. He refused SW
referrals put was advised that he could apply
for Medijcaid on his way out.

Discharge Plan : Refused jreferrals

sW Assessment/Plan : n/a, refused

Discharge Instructions (BP: Refysed referrals, return to walk in clinic
if you would like psychiatric services

Discharge Instructions La: English

 

 
 

Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 45 of 51

&

Printed:14 Aug 15 1044:59 TORT tne ae enn eee ee
|MRN: 3598032
Bellevue Hospital Center | Patient: Lurch, Robert

New York, NY 10016 |
[Visit Date:12/26/13 Visit# 3598032-1
| Location: emergency |

|

462 First Avenue |DOB: 11/28/1990 Sex:M Type;EP |
|

|

SSssrs=

oto Pau Events - continued

Fri, 27Dec 1200 CPEP Disposition |Note -- cont'q
Discharge Prescriptions : none
Risks/Alerts : Violence |Risk,Falls Risk
Risks/Alerts Details : fall pred,assault prec
Aftercare : none
Attending : :, Jennifer |Halper, mp

Jennifer Halper, MD (27 Dec 13 1740)

 

Documentation History Employee Date/Time
decumented by Sig:Halper, Jennifer, MD 12/27/13 17:40
Psychiatry/Mental Health,
Attending Physician (ESOF}

 

 

 

 
Process Type
Dose/Route

When

When
Specimen
Diagnosis

Print Order Form?
Act MD/NP/CNW

When
Specimen

Print Order Form?

Case 1:16-cv-02517-AT-RWL

Printed:14 Aug 158 1044:59
Bellevue Hospital Center
462 First Avenue

New York, Ny 10016

Haloperidol Lactate

Ordered by :
Order Date/Time :
Reviewed by
order
: 5 mg inj intramuscu
Thursday, 26 Decembsx 201]

Sig:Cheput, FB
26 Dec 13- 2
Sig: Marquez,

Document 2 Filed 04/05/16 Page 46 of 51

|MRN: 3598032 |
| Patient: Lurch, Robert {
| DOB: 11/28/1990 Sex:M Type:EP |
| |
|visit Date:12/26/13 Visit# 3599032-1 |
| Location: emergency |

ORDERS

rance Psychiatry/Mental Health, Attending P
111:00

Maria D, RN psychiatry/Mental Health, Staf

2111 STAT

 

 

Syphilis Treponemal Ab, IgG w/rflx

Ordered by
Order Date/Time
Reviewed by : Sig:Marquez,
. Thursday, 26 December
Blood - serum (SST)
: Unspecified psychosis
no ,
France Chaput, MP

Sig:Chaput,
26 Dec 13 2

Ethyl Alcohol Level Quant, Serum
ordered by

order Date/Time
Reviewed by

26 Déc 33 3
: Sig:Marquez
Thursday, 26 Rhecember
; Blood - Serum, (SST)

no De. tea

 

 

to RPR/Titer/TPPA Conf.

rance Psychiatry/Mental Health, Attending P
111:00 .
Maria D,
2013 2111

RN Psychiatry/Mental Health, Staf
STAT

Sig: Chaput, France Psychiatry/Mental Health, Attending P

111:00
Maria D, RN Psychiatry/Mental Health, Staf
2013 2111 £STAT
 

 

Process Type
Dose /Route

When

Printed:14 Aug 15 1044:59
Bellevue Hospital Center
462 First Avenue

New York, NY 10016

 

"All

LORazepam

Ordered by
Order Date/Time
Reviewed by
order

2 mg. intramuscu

26 Dec 13

: Thursday, 26 December 2013

Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 47 of 51

|MRN: 3598032 |
| Patient : Lurch, Robert

|DOB: 11/28/1990 Sex:M Type:EP |
| |
|Visit Date:12/26/13 Visit# 3598032-1 |
| Location: emergency |

pos ORDERS - continued

Orders - continued

: Sig:Chaput, France Psychiatry/Mental Health, Attending P

4111:00

Sig:Marquez/Maria D, RN Psychiatry/Mental Health, Stat

2111 STAT

Basic Metabolic Panel Ca Tetal Serum

Ordered by
Order Date/Time
Reviewed by

26 Dec 13
Sig:Marquez

When Thursday, 26. December
Specimen Blood - Serum (#8)
Diagnosis : Unspecified ‘psychosis
Print Order Form? : no ,

Att MD/NP/CNW

vhen
Specimen

France Chanut, MD

Calcium Level Total Serum

Ordered by : Sig:Chaput,

Order Date/Time 26 Dec 13

Reviewed by Sig: Marquez
Thursday, 26 December
Blood - Serum (SST)

?¥yint Order Form? =: no

Sig:Chaput, France Psychiatry/Mental Health, Attending P

2111:00

]

Maria D, RN Psychiatry/Mental Health, Staf
2013 2111 #£STAT

France Psychiatry/Mental Health, Attending P
P111:00

Maria D, RN Psychiatry/Mental Health, Staf
2013 21131 STAT

 

 
Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 48 of 51

Printed:14 Aug 15 1044:59

Bellevue Hospital Center

462 First Avenue
New York, NY 10016

-

| MRN: 3598032 |
| Patient : Lurch, Robert |
|DOB:11/28/1990 Sex:M Type:EP |
| |
\visit Date:12/26/13 Visit# 3598032-1 |
|Location: emergency |

Cutpatient Chart Print

OpPERS - continued

All lorders - continued >

Gamma Glutamyl Transferase Level | Serum

Ordered by
Order Date/Time
Reviewed by” :

Sig:Cheput , France Psychiatry/Mental Health, Attending P

26 Dec 13

2111:00

Sig:Marquez Maria D, RN Psychiatry/Mental Health, Staf
26 December | 2013 2111 STAT

Sig:Chaput, France Psychiatry/Mental Health, Attending P

2111:00 .

Sig:Marquez|Maria D, RN Psychiatry/Mental Health, Staf

96 December}2013 2111 STAT

Sig: Chaput, France Psychiatry/Mental Health, Attending P

y111:00

Sig:Marquez Maria D, RN Psychiatry/Mental Health, Staf
Thursday, 26 December|2013 2111 STAT

When Thursday,
Specimen : Blood - Serum (SST)
Print Order Form? : ne
Hemogram Auto Diff w/rflx to wana DIf£
Ordered by
Order Date/Time 26 Dec 13
Reviewed by
When : Thursday,
Specimen Blood - EDTA Lavender
Print Order Form? : no
Hepatic Function Panel Serum
Ordered by
order Date/Time : 26 Dec 13
Reviewed by
When
Specimen

Print Order Form? : no

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va

Blood - Serum (EST)

 
 

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Case 1:16-cv-02517-AT-RWL Document 2 Filed 04/05/16 Page 49 o

Printed:14 Rug 25 1044:59 0 foe ene

Bellevue Hospital Center | Patient: Lurch, Robert |
462 First Avenue |DOB:11/28/1990 Sex:M Type: EP {
New York, NY 10016 | |

|

[Visit Date :12/26/13 Visit# 3598032-1
| Location: emergency |

 

   

 

ORDERS - continued

“All| orders - continued

Magnesium Level Serum

Ordered by : Sig:Chaput,|Prance Psychiatry/Mental Health, Attending PB
Order Date/Time : 26 Dec 13 [2111:00
Reviewed by : Sig:Marquez|, Maria D, RN Psychiatry/Mental Health, Staf
When : Thursday, 26 December, 2013 2111 STAT
Specimen : Blood - Serum (SST)
Print Order Form? : no

Phosphate Level Serum

Ordered by : Sig: Chaput France Psychiatry/Mental Health, Attending P
Order Date/Time : 26 Dec 13 (2111:00
‘Reviewed by : Sig:Marqueg, Maria D, RN Psychiatry/Mental Health, Staf
When : Thursday, 26 December 2013 2111 STAT
Specimen : Blood - Serum (£¢'T)

Print Order Form? : no

 

 

 

 
Case 1:16-cv-02517-AT-RWL , Document 2 Filed 04/05/16 Page 50 of 51

Printed:14 Aug 15 1044:53 wr
, |MRN:3598032 |
Bellevue Hospital Center , | Patient: Lurch, Robert . |
462 First Avenue {DOB:11/28/1990 Sex:M Type: EP |
New York, N¥ 10016 |

\visit Date:12/26/13 Visit# 3598032-1 |

|Location: emergency |

 

PROBLEM LIST

Problem on Set Stop Status

Unspecified psychosis 12/26/13 active
Adjustment disorder with disturhance of conduct 12/27/13 active

 
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